     Case 2:13-cr-06070-SAB    ECF No. 118       filed 02/04/25     PageID.380            Page 1 of
                                             2
                                                                            FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON
 1
                                                                   Feb 04, 2025
 2
                                                                       SEAN F. MCAVOY, CLERK

 3
 4
 5                       UNITED STATES DISTRICT COURT
 6                     EASTERN DISTRICT OF WASHINGTON
 7
 8
 9 UNITED STATES OF AMERICA,                       No. 2:13-CR-06070-SAB-1
10     Plaintiff,
          v.                                       ORDER RE: SUPERVISED
11                                                 RELEASE VIOLATION
12 KENNETH RICHARD ROWELL,                         HEARING
13     Defendant.
                                                   *USMS ACTION REQUIRED*
14
15        A supervised release revocation hearing in this matter was held on February
16 4, 2025, in Yakima, Washington. Defendant was present, in custody, and
17 represented by Andrew Wagley. The Government was represented by Benjamin
18 Seal and Brandon Pang.
19        At the hearing, Defendant admitted to Violations Nos. 1–9 and the Court
20 found the violations committed. The Court dismissed Violation Nos. 10–12 upon
21 oral motion by the Government. After hearing from the parties, the Court found it
22 appropriate to impose a sanction of credit for time served and terminate supervised
23 release. This Order memorializes the Court’s oral rulings.
24 //
25 //
26 //
27 //
28 //

        ORDER RE: SUPERVISED RELEASE VIOLATION HEARING # 1
     Case 2:13-cr-06070-SAB    ECF No. 118       filed 02/04/25   PageID.381   Page 2 of
                                             2


 1        Accordingly, IT IS HEREBY ORDERED:
 2        1.    Violation Nos. 1–9 are COMMITTED.
 3        2.    Violation Nos. 10–12 are DISMISSED.
 4        3.    The Court issued a sanction of credit for time served.
 5        4.    Defendant’s term of supervised release is TERMINATED.
 6        5.    The U.S. Marshals Service shall immediately release Defendant from
 7 custody.
 8       IT IS SO ORDERED. The District Court Executive is hereby directed to
 9 enter this Order, provide copies to counsel and U.S. Probation, and close the file.
10        DATED this 4th day of February 2025.
11
12
13
14
15
                                      Stanley A. Bastian
16                             Chief United States District Judge
17
18
19
20
21
22
23
24
25
26
27
28

      ORDER RE: SUPERVISED RELEASE VIOLATION HEARING # 2
